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                             ADDENDUM TO MONTHLY OPERATING REPORT

                                 In re The Litigation Practice Group, P.C.

                                 Bankruptcy Case No. 8:23-bk-10571-SC

                                       Month Ending 08/31/2023



 Due to a lack of cooperation by Debtor’s principals, Trustee is not able to definitively answer all
 questions set forth in the monthly operating report. Due to the fact that the form cannot be
 electronically submitted without a response to each and every question, Trustee has responded with
 either a “$0” or “no” for the questions to which he does not possess the information and elaborates on
 such answers with the following explanations and additional information:



  Question                                            Trustee’s Explanation
  Debtor’s Full-Time Employees (current)              Trustee was not appointed until May 8, 2023. As
                                                      of the payroll spreadsheet titled “6-16-23 payroll
                                                      spreadsheet updated 7-17-23 PK NOTES and
                                                      corrections from Darius” there were
                                                      approximately 46 full time employees. Trustee
                                                      was told by Debtor’s former managing partner,
                                                      Daniel March, that during this period he was
                                                      providing legal services to approximately 200
                                                      clients with the assistance of two staff members.
                                                      Trustee does not know if these were employees
                                                      of Debtor or Mr. March. As of August 2023 all
                                                      employees were terminated.
  Debtor’s Full-Time Employees (as of date of order   Trustee was not appointed until May 8, 2023, and
  for relief)                                         has not received the payroll records as of the
                                                      date of order for relief, and therefore cannot
                                                      determine the number of full-time employees on
                                                      that date. To date, Trustee’s investigation has
                                                      revealed that, prior to entry of an order for relief,
                                                      substantially all of the Debtor’s employees were
                                                      fraudulently transferred to, and/or employed by,
                                                      other entities as alleged in the Adversary
                                                      Proceeding, including but not limited to Maverick
                                                      Consulting, Prime Logix and/or Vulcan Consulting.
                                                      Upon his appointment, Trustee learned that
                                                      Phoenix had an agreement with Maverick that
                                                      Phoenix would pay the hourly rate of Maverick
                                                      employees (many of which were formerly with
                                                      the Debtor) then providing services to Phoenix;
                                                      upon the service of the lawsuit and the issuance
                                                      of the TRO, Phoenix capitulated to the transfer
                                                      back to LPG of the assets, including LPG's ability
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                                                         to access the services of hourly personnel
                                                         through the Phoenix contract with Maverick,
                                                         which contract will be rejected, out of an
                                                         abundance of caution, in the coming days.
      Supporting Documentation section1
      Statement of cash receipts and disbursements       Trustee was not appointed until May 8, 2023, and
                                                         has not received any such report or underlying
                                                         data for August 2023 from the Debtor or its
                                                         principals. However, the Trustee received
                                                         $4,338,044.21 in August 2023 (See attached
                                                         Form 2).
      Balance Sheet containing the summary and           Trustee was not appointed until May 8, 2023, and
     detail of the assets, liabilities and equity (net   has not received any such report for August 2023
     worth) or deficit                                   from the Debtor or its principals. The only
                                                         information Trustee is in possession of is what
                                                         was listed in the schedules filed under docket no.
                                                         33 on April 4, 2023, and a named “Balance Sheet
                                                         FY 2022” provided as part of the UST 7-day
                                                         package. QuickBooks records received by the
                                                         Trustee include data through January 5, 2022.
                                                         That said, Trustee is in possession of cash receipts
                                                         as listed on Trustee’s Form 2 (See attached Form
                                                         2).
      Statement of operations (profit or loss            Trustee was not appointed until May 8, 2023, and
     statement)                                          has not received any such report or data for
                                                         August 2023, from the Debtor or its principals.
                                                         The QuickBooks records provided to Trustee only
                                                         contain data through December 2021. The only
                                                         information Trustee is in possession of is what
                                                         was listed in the Statement of Financial Affairs
                                                         (“SOFA”) filed under docket no. 34 on April 4,
                                                         2023, and a file named “Income Statement FY
                                                         2022” provided as part of the UST 7-day package.
                                                         SEE BELOW. That said, Trustee is in possession of



 1
   As mentioned above with respect to employees, and alleged in the Adversary Proceeding, pre-petition,
 substantially all of Debtor’s assets were also fraudulently conveyed to transferees and fraudulent
 conveyance partners such as Phoenix Law, Greyson Law Center, PrimeLogix, Maverick and others.
 Perhaps this scheme explains why Debtor and its principals have refused to turn over the documents
 sought pursuant to this supporting documentation section. Upon the service of the TRO and PI, Trustee
 learned that all revenue formerly of LPG was, prior to the Trustee's appointment, being siphoned from
 LPG to go to these other entities; Mr. Diab testified as much at the hearing on the Preliminary Injunction.
 Trustee's Special Litigation Counsel is in the process of finalizing and serving subpoenas on all financial
 institutions and third parties that appear to have been engaged in or recipients of monies believed to
 belong to LPG that appear to have been siphoned and used for other purposes.
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                                                       cash receipts as listed on Trustee’s Form 2 (See
                                                       attached Form 2).
   Accounts receivable aging                           Trustee was not appointed until May 8, 2023, and
                                                       has not received any such report for August 2023,
                                                       from the Debtor or its principals. The only
                                                       information Trustee is in possession of is what
                                                       was listed in the schedules filed under docket no.
                                                       33 on April 4, 2023 and a filed named “AR Aging –
                                                       April 28, 2023” provided as part of the UST 7-day
                                                       package. SEE BELOW. That said, Trustee is in
                                                       possession of cash receipts as listed on Trustee’s
                                                       Form 2 (See attached Form 2).
   Postpetition liabilities aging                      Trustee was not appointed until May 8, 2023, and
                                                       has not received any such report or data for
                                                       August 2023, from the Debtor or its principals.
                                                       The QuickBooks records provided to Trustee only
                                                       contain data through January 5, 2022.
   Statement of capital assets                         Trustee was not appointed until May 8, 2023, and
                                                       has not received any such report or data for
                                                       August 2023, from the Debtor or its principals.
                                                       The QuickBooks records provided to Trustee only
                                                       contain data through January 5, 2022.
   Schedule of payments to professionals               Trustee has not made any payments to any
                                                       professionals since his appointment on May 8,
                                                       2023. The only information in possession of
                                                       Trustee is found under docket no. 30. SEE
                                                       BELOW.
   Schedule of payments to insiders                    Trustee was not appointed until May 8, 2023, and
                                                       has not received any such report for August 2023
                                                       from the Debtor or its principals. The QuickBooks
                                                       records provided to Trustee only contain data
                                                       through December 2021, and SOFA Part 2, #4
                                                       states “None”
   All bank statements and bank reconciliations for    Trustee was not appointed until May 8, 2023, and
  the reporting period                                 has not received any bank statements for
                                                       accounts held by the Debtor for August 2023.
                                                       Trustee has received incomplete bank statements
                                                       for an account held by Maverick Management
                                                       Group, LLC for the months of April – August 2023.
                                                       Further, the Debtor only listed one pre-petition
                                                       bank account in its schedules and UST’s 7-day
                                                       package, however, Trustee has become aware
                                                       that the Debtor held multiple bank accounts.
                                                       SEE BELOW.
   Description of the assets sold or transferred and   Trustee was not appointed until May 8, 2023, and
  the terms of the sale or transfer                    has not received any such report or data for the
                                                       period prior to August 2023, from the Debtor or
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                                         its principals, and SOFA Part 6, #13 states “None.”
                                         That said, the Trustee conducted a sale of assets
                                         with the Court’s approval in August 2023 for
                                         $5,500,000. SEE ATTACHED ASSET SALE
                                         SCHEDULE.
  Part 1, a                              Trustee was not appointed until May 8, 2023, and
                                         received the Debtor-In-Possession bank
                                         statements in August 2023. Trustee has not
                                         received any bank statements for any other
                                         accounts held by the Debtor for August 2023.
                                         The Trustee had $7,391,654.47 as of August 1,
                                         2023. The QuickBooks records provided to
                                         Trustee only contain data through December
                                         2021.
  Part 1, b                              Trustee was not appointed until May 8, 2023, and
                                         received the Debtor-In-Possession bank
                                         statements in August 2023. Trustee has not
                                         received any bank statements for any other
                                         accounts held by the Debtor for August 2023.
                                         The QuickBooks records provided to the Trustee
                                         only contain data through December 2021.
                                         However, Trustee received $4,338,044.21 in
                                         August 2023 (See attached Form 2).
  Part 1, c                              Trustee was not appointed until May 8, 2023, and
                                         received the Debtor-In-Possession bank
                                         statements in August 2023. Trustee has not
                                         received any bank statements for any other
                                         accounts held by the Debtor for August 2023.
                                         The Trustee made disbursements in the amount
                                         of $397,543.17 (See attached Form 2). The
                                         QuickBooks records provided to Trustee only
                                         contain data through December 2021. The
                                         Trustee did not make any additional
                                         disbursements in August 2023.
  Part 1, d                              Trustee was not appointed until May 8, 2023, and
                                         received the Debtor-In-Possession bank
                                         statements in August 2023. Trustee has not
                                         received any bank statements for any other
                                         accounts held by the Debtor for August 2023.
                                         The QuickBooks records provided to Trustee only
                                         contain data through December 2021. The
                                         Trustee had $11,332,155.51 in the Estate’s bank
                                         accounts as of August 31, 2023. (See attached
                                         Form 2).
  Part 1, e                              Trustee was not appointed until May 8, 2023, and
                                         received the Debtor-In-Possession bank
                                         statements in August 2023. Trustee has not
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                                         received any bank statements for any other
                                         accounts held by the Debtor for August 2023.
                                         The only bank statement received by Trustee for
                                         July 2023 are for Maverick Management Group,
                                         LLC, Wells Fargo #0496. (SEE BELOW UNDER “All
                                         bank statements and bank reconciliations for
                                         the reporting period”). The QuickBooks records
                                         provided to Trustee only contain data through
                                         December 2021.
  Part 1, f                              See responses to Parts 1c and 1e
  Part 2, a                              Trustee was not appointed until May 8, 2023, and
                                         has not received any such report for August 2023
                                         from the Debtor or its principals. The only
                                         information Trustee is in possession of is what
                                         was listed in the schedules filed under docket no.
                                         33 on April 4, 2023. (SEE BELOW under Accounts
                                         receivable aging). The QuickBooks records only
                                         contain data through January 5, 2022.

  Part 2, b                              Trustee was not appointed until May 8, 2023, and
                                         has not received any such report for August 2023
                                         from the Debtor or its principals. The only
                                         information Trustee is in possession of is what
                                         was listed in the schedules filed under docket no.
                                         33 on April 4, 2023. (SEE BELOW under Accounts
                                         receivable aging). The QuickBooks records only
                                         contain data through January 5, 2022.
  Part 2, c                              Trustee was not appointed until May 8, 2023, and
                                         has not received any such report for August 2023
                                         from the Debtor or its principals. The only
                                         information Trustee is in possession of is what
                                         was listed in the schedules filed under docket no.
                                         33 on April 4, 2023, Part 5. The QuickBooks
                                         records only contain data through January 5,
                                         2022.
  Part 2, d                              Trustee was not appointed until May 8, 2023, and
                                         has not received any such report for August 2023
                                         from the Debtor or its principals. The only
                                         information Trustee is in possession of is what
                                         was listed in the schedules filed under docket no.
                                         33 on April 4, 2023, Schedule A/B, Part 12, #92.
                                         The QuickBooks records only contain data
                                         through January 5, 2022. SEE BELOW.
  Part 2, e                              Trustee was not appointed until May 8, 2023, and
                                         has not received any such report for August 2023
                                         from the Debtor or its principals. The only
                                         information Trustee is in possession of is what
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                                         was listed in the schedules filed under docket no.
                                         33 on April 4, 2023, Part 12, #92. The QuickBooks
                                         records only contain data through January 5,
                                         2022. SEE BELOW.
  Part 2, f                              Trustee was not appointed until May 8, 2023, and
                                         has not received any such report for August 2023
                                         from the Debtor or its principals to provide for
                                         post-petition payables accrued. The QuickBooks
                                         records only contain data through January 5,
                                         2022. That said, the Trustee has remitted
                                         payment in the amount of $250.00 for the UST’s
                                         quarterly fees.
  Part 2, g                              Trustee was not appointed until May 8, 2023, and
                                         has not received any such report for August 2023
                                         from the Debtor or its principals to provide for
                                         past due post-petition payables accrued. The
                                         QuickBooks records only contain data through
                                         January 5, 2022.
  Part 2, h                              Trustee was not appointed until May 8, 2023, and
                                         has not received any such report for August 2023
                                         from the Debtor or its principals to provide for
                                         post-petition taxes accrued. The QuickBooks
                                         records only contain data through January 5,
                                         2022.
  Part 2, i                              Trustee was not appointed until May 8, 2023, and
                                         has not received any such report for August 2023
                                         from the Debtor or its principals to provide for
                                         past due post-petition taxes accrued. The
                                         QuickBooks records only contain data through
                                         January 5, 2022.
  Part 2, j                              See responses to Parts 2f and 2h.
  Part 2, k                              Trustee was not appointed until May 8, 2023, and
                                         has not received any such report or data for
                                         August 2023 from the Debtor or its principals to
                                         reflect the total pre-petition secured debt. The
                                         only information Trustee is in possession of is
                                         what was listed in the schedules filed under
                                         docket no. 33 on April 4, 2023, Schedule D, Part 1,
                                         #3. SEE BELOW. The QuickBooks records only
                                         contain data through January 5, 2022, and do not
                                         identify which liabilities are secured vs.
                                         unsecured.
  Part 2, l                              Trustee was not appointed until May 8, 2023, and
                                         has not received any such report or data for
                                         August 2023 from the Debtor or its principals to
                                         reflect the total pre-petition priority debt. The
                                         only information Trustee is in possession of is
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                                         what was listed in the schedules filed under
                                         docket no. 33 on April 4, 2023, Schedule E/F, Part
                                         4, #5a. SEE BELOW. The QuickBooks records only
                                         contain data through January 5, 2022, and list a
                                         total of $58,332.21 in tax liabilities. SEE BELOW.
  Part 2, m                              Trustee was not appointed until May 8, 2023, and
                                         has not received any such report or data for
                                         August 2023 from the Debtor or its principals to
                                         reflect the total pre-petition priority debt. The
                                         only information the Trustee is in possession of is
                                         what was listed in the schedules filed under
                                         docket no. 33 on April 4, 2023, Schedule E/F, Part
                                         4, #5b. SEE BELOW.
  Part 2, n                              See responses to Parts 2j, 2k, 2l, and 2m.
  Part 2, o                              See responses to Parts 2e and 2n.
  Part 3, a                              Since the Trustee’s appointment on May 8, 2023,
                                         there has been one reported asset sale. The sale
                                         details are provided in the filing of Docket 416,
                                         highlighting the total sale of $5,500,000.00. SEE
                                         ATTACHED ASSET SALE SCHEDULE.
  Part 3, b                              Trustee was not appointed until May 8, 2023, and
                                         has not received any such report or data for
                                         August 2023 from the Debtor or its principals
                                         with regard to payments to third parties incident
                                         to assets being sold or transferred outside the
                                         ordinary course of business.
  Part 3, c                              See responses to Parts 3a and 3b.
  Part 4, a                              Trustee was not appointed until May 8, 2023, and
                                         has not received any such report or data for
                                         August 2023, from the Debtor or its principals.
                                         The QuickBooks records provided to Trustee only
                                         contain data through December 2021. The only
                                         information Trustee is in possession of is what
                                         was listed in the Statement of Financial Affairs
                                         (“SOFA”) filed under docket no. 34 on April 4,
                                         2023. (SEE BELOW - Statement of operations
                                         (profit or loss statement).

  Part 4, b                              Trustee was not appointed until May 8, 2023, and
                                         has not received any such report or data for
                                         August 2023, from the Debtor or its principals.
                                         The QuickBooks records provided to Trustee only
                                         contain data through December 2021.
  Part 4, c                              See responses to Parts 4a and 4b.
  Part 4, d                              Trustee was not appointed until May 8, 2023, and
                                         has not received any such report or data for
                                         August 2023, from the Debtor or its principals.
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                                         The QuickBooks records provided to Trustee only
                                         contain data through December 2021.
  Part 4, e                              Trustee was not appointed until May 8, 2023, and
                                         has not received any such report or data for
                                         August 2023, from the Debtor or its principals.
                                         The QuickBooks records provided to Trustee only
                                         contain data through December 2021.
  Part 4, f                              Trustee was not appointed until May 8, 2023, and
                                         has not received any such report or data for
                                         August 2023, from the Debtor or its principals.
                                         The QuickBooks records provided to Trustee only
                                         contain data through December 2021.
  Part 4, g                              Trustee was not appointed until May 8, 2023, and
                                         has not received any such report or data for
                                         August 2023, from the Debtor or its principals.
                                         The QuickBooks records provided to Trustee only
                                         contain data through December 2021.
  Part 4, h                              Trustee was not appointed until May 8, 2023, and
                                         has not received any such report or data for
                                         August 2023, from the Debtor or its principals.
                                         The QuickBooks records provided to Trustee only
                                         contain data through December 2021.
  Part 4, i                              Trustee was not appointed until May 8, 2023, and
                                         has not received any such report or data for
                                         August 2023, from the Debtor or its principals.
                                         The QuickBooks records provided to Trustee only
                                         contain data through December 2021.
  Part 4, j                              Trustee was not appointed until May 8, 2023, and
                                         has not received any such report or data for
                                         August 2023, from the Debtor or its principals.
                                         The QuickBooks records provided to Trustee only
                                         contain data through December 2021.
  Part 4, k                              Trustee was not appointed until May 8, 2023, and
                                         has not received any such report or data for
                                         August 2023, from the Debtor or its principals.
                                         The QuickBooks records provided to Trustee only
                                         contain data through December 2021.
  Part 5, a                              Trustee has not made any payments to any
                                         professionals since his appointment on May 8,
                                         2023. The only information in possession of the
                                         Trustee is found under docket no. 30. (SEE
                                         BELOW - Schedule of payments to professionals)

  Part 5, b                              Trustee has not made any payments to any
                                         professionals since his appointment on May 8,
                                         2023. The only information in possession of the
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                                         Trustee is found under docket no. 30. (SEE
                                         BELOW - Schedule of payments to professionals)
  Part 5, c                              See responses to Parts 5a and 5b.
  Part 6, a                              Trustee was not appointed until May 8, 2023, and
                                         has not received any such report or data for
                                         August 2023, from the Debtor or its principals.
                                         The QuickBooks records provided to Trustee only
                                         contain data through December 2021.
  Part 6, b                              Trustee was not appointed until May 8, 2023, and
                                         has not received any such report or data for
                                         August 2023, from the Debtor or its principals.
                                         The QuickBooks records provided to Trustee only
                                         contain data through December 2021.
  Part 6, c                              Trustee was not appointed until May 8, 2023, and
                                         has only received the payroll records for the
                                         periods after May 2023, , and the Trustee has
                                         paid the trust payroll taxes and employer payroll
                                         taxes. (SEE FORM 2)
  Part 6, d                              Trustee was not appointed until May 8, 2023, and
                                         has only received the payroll records for the
                                         periods after May 2023 and the Trustee has paid
                                         the trust payroll taxes and employer payroll taxes.
                                         (SEE FORM 2)
  Part 6, e                              Trustee was not appointed until May 8, 2023, and
                                         has not received any property tax records for the
                                         period covering August 1-31, 2023, and cannot
                                         determine if any property taxes were paid and
                                         how much was paid.
  Part 6, f                              Trustee was not appointed until May 8, 2023, and
                                         has not received any records reflecting taxes
                                         accrued by the Debtor for the period covering
                                         August 1-31, 2023.
  Part 6, g                              Trustee was not appointed until May 8, 2023, and
                                         has not received any records reflecting taxes paid
                                         by the Debtor for the period covering August 1-
                                         31, 2023.
  Part 7, a                              Trustee was not appointed until May 8, 2023, and
                                         has not received any banking records or other
                                         information confirming whether or not any pre-
                                         petition debts were paid by the Debtor from
                                         August 1-31, 2023.
  Part 7, b                              Trustee was not appointed until May 8, 2023, and
                                         has not received any banking records or other
                                         information confirming whether or not any pre-
                                         petition debts were paid by the Debtor from
                                         August 1-31, 2023.
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  Part 7, c                                           Trustee was not appointed until May 8, 2023, and
                                                      has not received any banking records or other
                                                      information confirming whether or not any pre-
                                                      petition debts were paid by the Debtor from
                                                      August 1-31, 2023.
  Part 7, d                                           Trustee was not appointed until May 8, 2023, and
                                                      does not know if the Debtor filed 2022 federal
                                                      and state income tax returns. Tax returns related
                                                      to the bankruptcy estate are not due yet.
  Part 7, e                                           Trustee was not appointed until May 8, 2023, and
                                                      does not know if the Debtor made any estimated
                                                      tax payments from August 1-31, 2023. Trustee
                                                      has not received any bank statements for
                                                      accounts held by the Debtor during this time.
                                                      (SEE BELOW - All bank statements and bank
                                                      reconciliations for the reporting period).

  Part 7, f                                           Trustee was not appointed until May 8, 2023, and
                                                      does not know if the Debtor remitted all trust
                                                      fund taxes for prior periods. Trustee has not
                                                      received the relevant payroll tax records.
                                                      However, the Trustee has remitted trust fund
                                                      taxes as shown on Form 2.
  Part 7, g                                           Trustee was not appointed until May 8, 2023, and
                                                      does not know if the Debtor incurred additional
                                                      debt in the prior periods. The Trustee did secure
                                                      post-petition financing. The Trustee filed a
                                                      motion seeking authorization to secure the post-
                                                      petition financing (See Docket No. 119). (SEE
                                                      BELOW - LPG Post-Petition Lenders).
  Part 7, h                                           The Court has not approved any payments to
                                                      professionals in the case so far.
  Part 7, i                                           Trustee was not appointed until May 8, 2023,
                                                      once appointed the Trustee was provided with
                                                      the UST 7-day package by the US Trustee’s office.
                                                      The UST 7-day package dated 4/25/2023 did not
                                                      include proof of WC insurance. The 7-day
                                                      package did include a Certificate of Insurance
                                                      reflecting coverage from 4/25/2023 – 4/25/2024
                                                      for general liability for named insured Daniel
                                                      March. The certificate did not list the Debtor as
                                                      named insured.
  Part 7, j                                           No
  Part 7, k                                           No
  Part 7, l                                           Yes
  Part 8                                              SECTION DOES NOT APPLY TO DEBTOR
 Statement of operations (profit or loss statement)
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 SOFA Part 1, #1: Gross Income from 1/1/2023 – Filing Date: $30,000,000.00

 SOFA Part 2, #3: Payments/Transfers within 90-days before the petition date:

           City Capital     $50,000

           Marich Bein      $12,000,000

 Accounts receivable aging

 Schedule A/B, Part 3, #11: Accounts receivable 90-days old or less: $120,000,000

 “AR Aging – April 28, 2023”:

  Row          Sum of
  Labels       AMOUNT



      2023
  Apr             $240,000.00
  May             $740,000.00
  Jun            $1,200,000.00
  Jul            $1,200,000.00
  Aug            $1,200,000.00
  Sep            $1,200,000.00
  Oct            $1,200,000.00
  Nov            $1,200,000.00
  Dec            $1,200,000.00
  Total          $9,380,000.00


 Schedule of payments to professionals

 Disclosure of Compensation of Attorney for Debtor

           For legal services, I have agreed to accept             $100,000

           Prior to the filing of this statement I have received   $80,000

           Balance Due                                             $20,000

 All bank statements and bank reconciliations for the reporting period



  Transaction      Transaction     Check
  Date             Type            Number       Credit/Deposit Debit/Charge     Payee/Payor
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 Bank accounts held by Debtor:

  Bank Name       Account Type                          Account Name                          Account Number
 Chase           Checking           The Litigation Practice Group PC                        735863133
 Chase           Checking           The Litigation Practice Group PC                        735863158
 Chase           IOLTA Checking     The Litigation Practice Group PC, IOLTA Trust Account   833813568
 Chase           Credit Card        LPG c/o Alex Tarkoff                                    4485927900010935
 Chase           Credit Card        LPG VC c/o Alex Tarkoff                                 4288377930006652
                                    Secure Payment Services LLC dba Litigation Practice
 Optimum         Checking           Group                                                   210030045
 Optimum         Checking           Coast Processing LLC dba LPG                            210026738
 Union           IOLTA Checking     The Litigation Practice Group PC                        21594874
 Union           Checking           The Litigation Practice Group PC                        21594858
 Union           Checking           The Litigation Practice Group PC                        21595319
 Union           Checking           The Litigation Practice Group PC                        12767570
 Bank of the
 West            Checking           The Litigation Practice Group PC                        065-293441
 Wells Fargo     Checking           Maverick Management Group LLC                           2161510496
 Wells Fargo     DIP                The Litigation Practice Group PC                        x9895
 Wells Fargo     DIP                The Litigation Practice Group PC                        x9879
 Wells Fargo     DIP                The Litigation Practice Group PC                        x9887


 Part 2, d

 Schedule A/B, Part 12, #92: Total of all property on Schedule A/B: $132,186,500

 Part 2, e

 Schedule A/B, Part 12, #92: Total of all property on Schedule A/B: $132,186,500

 Part 2, k

 Schedule D, Part 1, #3: Total: $6,274,810

 Part 2, l

 Schedule E/F, Part 4, #5a: Total claims from Part 1: $374,060.04

 January 5, 2022 Balance Sheet:
Case 8:23-bk-10571-SC         Doc 542-2 Filed 09/26/23 Entered 09/26/23 17:11:49                  Desc
                               Exhibit Addendum Page 13 of 13


 Part 2, m

 Schedule E/F, Part 4, #5b: Total claims from Part 2: $141,439,158.05

 Part 7, g

 LPG Post-Petition Lenders

  ALL TO BE PAID 1 YEAR FROM THE DATE FUNDED AS SUPER ADMINISTRATIVE PRIORITY CLAIM

   LENDER            AMOUNT             DATE            RIGHT TO          INTEREST OWED    Total
                                        FUNDED          REDUCE LOAN       AS OF 8/15/23    Amount
                                                                                           Due as of
                                                                                           8/15/23
   PanAmerica        $249,663.98        July 20, 2023   No right to       26 days          $251,086.70
   Consulting LLC                                       reduce loan       (@$54.72/per
                                                        amount –          diem) =
   Ali (?)                                              there was right   $1,422.72
   Jeff Golden(?)                                       to reduce
                                                        deposit for
                                                        overbid
   Liberty           $550,336.02        June 30,        No right - they   46 day (@        $555,884.54
   Acquisitions                         2023            never gave us     $120.62/per
   Group, Inc.                                          a deposit         diem) =
                                                        toward the        $5,548.52
   Ron Richards                                         APA; and they
                                                        never were
                                                        successful
                                                        purchaser
   Resolution        $250,336.02        July 20, 2023   N/A               26 days (@       $251,762.64
   Ventures                                                               $54.87/per
                                                                          diem) =
   Russ Squires                                                           $1,426.62
   Resolution        $249,663.98        June 16,        N/A               60 days (@       $252,947.18
   Ventures                             2023                              $54.72/diem) =
                                                                          $3,283.20
   Russ Squires
